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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION

Samuel R. Floyd, III, on behalf of himself
                                      )
and all others similarly situated,    )                 C/A No. 3:19-3304-MBS
                                      )
                     Plaintiff,       )
                                      )
        vs.                           )
                                      )
Deloitte & Touche, LLP, Deloitte LLP, )
                                      )
                     Defendants.      )
_____________________________________ )

          ORDER APPOINTING INTERNATIONAL BROTHERHOOD OF
    ELECTRICAL WORKERS LOCAL 98 PENSION FUND AS LEAD PLAINTIFF AND
                  APPROVING SELECTION OF COUNSEL

        This matter is before the court on motion of the International Brotherhood of Electrical Workers

Local 98 Pension Fund (“IBEW Local 98”) for Appointment as Lead Plaintiff and Appointment of Lead

Counsel. (ECF No. 22). IBEW also seeks appointment of Liaison Counsel. Plaintiff Samuel R. Floyd,

III does not oppose IBEW Local 98's motion. Accordingly, for good cause shown:

        1.      The court finds that IBEW Local 98 satisfies the requirements for lead plaintiff

appointment pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (the “Exchange

Act”), as amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”). The court

hereby appoints IBEW Local 98 as Lead Plaintiff and directs the Clerk of Court to substitute IBEW

Local 98 for Samuel R. Floyd, III in the caption of this action.

        2.      IBEW Local 98, pursuant to Section 21D(a)(3)(B) of the Exchange Act, as amended by

the PSLRA, has selected and retained Cohen Milstein Sellers & Toll PLLC as Lead Counsel. The court

hereby appoints Cohen Milstein Sellers & Toll PLLC as Lead Counsel.

        3.      Lead Counsel shall have the following responsibilities and duties:

                a.      to coordinate the briefing and argument of motions;
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               b.      to coordinate the conduct of discovery proceedings;

               c.      to coordinate the examination of witnesses in depositions;

               d.      to coordinate the selection of counsel to act as a spokesperson at pretrial
                       conferences;

               e.      to call meetings of Plaintiffs’ counsel as they deem necessary and appropriate
                       from time to time;

               f.      to coordinate all settlement negotiations with counsel for Defendants;

               g.      to coordinate and direct the pretrial discovery proceedings and the preparation
                       for trial and the trial of this matter and to delegate work responsibilities to
                       selected counsel as may be required; and

               h.      to supervise any other matters concerning the prosecution, resolution or
                       settlement of this action.

       4.      No motion, request for discovery, or other pretrial proceedings shall be initiated or filed

by any Plaintiff without the approval of Lead Counsel, so as to prevent duplicative pleadings or

discovery by Plaintiffs. No settlement negotiations shall be conducted without the approval of Lead

Counsel.

       5.      IBEW Local 98, pursuant to Section 21D(a)(3)(B) of the Exchange Act, as amended by

the PSLRA, has selected and retained Tinkler Law Firm LLC as Liaison Counsel. The court appoints

Tinkler Law Firm LLC as Liaison Counsel.

       IT IS SO ORDERED.


                                                /s/ Margaret B. Seymour
                                                Senior United States District Judge

Columbia, South Carolina

February12, 2020




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